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           Declining    Labor and Capital Shares




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                                        Declining                   Labor and Capital Shares


                                                                            Simcha Barkai


                                                                    University of Chicago




                                                                                      Abstract


            This     paper shows            that the     decline       in   the       labor      share    over    the   last   30 years was               not o        set         by an


       increase      in the    capital      share    I calculate       payments             to capital    as the    product         of   the    required rate             of   return


       on   capital     and the        value    of   the   capital      stock          I    document a large             decline         in   the   capital          share         and   a


       large increase         in the   pro      tshare     in the      U.S non-            nancial corporate            sector   over the           last 30      years         I   show

       that the      decline in the          capital   share      is   robust         to    many     calculations        of   the    required         rate      of    return and


       is   unlikely    to    be driven by unobserved                  capital         I   interpret      these    results     through          the      lens   of    a   standard


       general equilibrium             model and I show that only an                              increase   in    markups can generate                     a    simultaneous


       decline in the         shares   of   both labor      and capital           I   provide reduced            form empirical               evidence     that an increase


       in   markups plays a signi              cant role in the decline in                  the   labor   share     These      results         suggest      that the decline


       in   the shares       of labor    and capital are due to an increase                        in    markups and          call into question                the    conclusion



       that the      decline    in   the labor share         is   an e      cient          outcome




   I thank my advisers Amir Su Stavros Panageas Hugo Sonnenschein                                            and Luigi Zingales                for all    their support              I   also wish

to thank    Lars    Hansen     Larry Schmidt         Amit Seru          Willem van Vliet Tony                Zhang       Eric    Zwick and seminar                    participants           at   the

University of      Chicago     MFM summer session and Hebrew University for their comments and feedback                                                     I   acknowledge              nancial
support from the       Stigler Center          Email address        sbarkai@chicagobooth.edu




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         Over the             last    30 years we have witnessed a large decline in the labor share                                                             of   gross value            added Elsby                  et



al 2013 and Karabarbounis and Neiman                                                         2014                Many existing explanations of the decline                                            in    the       labor


share such as technological                                 change           mechanization capital accumulation                                          and a change             in    the          relative         price


of   capital focus                   on tradeo          s    between labor and capital In these explanations                                                    the decline            in    the labor share


is   o       set      by an increase in the capital share                                         Furthermore                   these explanations view                     the    shift         from labor to


capital as              an e         cient       outcome In                 this      paper       I   show that shares of both labor and capital are declining and


are      jointly          o    set    by a large increase in the share                                     of   pro        ts


         I       document            a large decline              in    the capital share                       and a large increase in the pro                             tshare in the                   U.S non

nancial corporate                          sector       over the            last      30 years Following Hall and Jorgenson                                      1967 I compute                            a series of


capital               payments            equal    to the product                     of   the required rate                of    return on          capital         and the value                   of    the    capital


stock             I   nd that shares of both labor and capital are declining                                                       Measured              in   percentage          terms the decline                      in



the capital share                     30           is   much more dramatic than the decline                                         in   the labor            share   10               During the sample


period the required                          rate of return                 on capital declines sharply driven by a large decline in the                                                             risk-free        rate


At the same time the quantity                                          of    capital used in production                            measured as a share                       of    gross value                    added

does             not increase and as a                   result        the capital share declines                               The decline          in   the    risk-free        rate and the lack                      of



capital accumulation                             have    been noted by Furman and Orszag                                          2015

         I   take several steps to ensure the robustness                                              of   the constructed              series of capital             payments First I consider


the      possibility            that the          data miss a large omitted or unobserved                                          stock       of   capital and that              my measured pro                        ts


are in fact               capital         payments          on this unobserved                         stock      of      capital       With minimal assumptions                                 I   calculate         the


value            of   the potentially              omitted or unobserved                          stock         that would o             set    the increase           in   pro         ts I show that the


value            of   the     omitted        or    unobserved                stock          of   capital         measured          as a share            of    gross value         added would need

to increase                 over the sample                 by    a total of 490 percentage points which would amount to 42 trillion                                                                             in   2014

By the end of the sample the value                                               of    the       unobserved            capital      stock       would need to be thirty times higher

than existing estimates                            of   the missing intangible capital                                 and three times higher than the value                                     of all      observed


capital               Second          I    consider         alternative               speci       cations         of   the required rate                 of   return    on capital that account


for      equity         nancing              I    nd that estimates of the required rate of return on capital that use the equity cost of

capital or the weighted                            average         cost          of   capital lead to a larger decline                              in   the capital        share Last I consider


speci             cations      of     the    required            rate       of   return          on capital that include                       the tax treatment                  of    capital             and debt


and          I   nd that they lead to a large decline in the capital share
         I       interpret       the simultaneous                      decline         in the shares                 of   labor     and capital through                     the        lens of             a standard


general               equilibrium            model The model has two                                       important assumptions                          rst production                    is       homogeneous


in    capital           and labor second                         the        static         rst-order conditions                    of    rms are              satis    ed    i.e labor and                        capital


inputs            fully       adjust to their long-run levels                                I   show that when markups are xed any change                                                       in       preferences




                                                                                                                 2
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technology          or relative prices that                 causes       the labor share to decline                       must     also    cause      an equal          increase in the


capital     share             This result      of    the    model        is   very     general          and does not depend                 on assumptions                of   household


behavior          rm ownership                 or    the        functional          form     of       the   production           function     I       calibrate         the    model and


show that the observed increase                            in   markups         can explain the decline in the shares of both labor and capital


Furthermore               I   show that the increase                in   markups inferred from the data                             causes    a large steady-state                 decline


in    output        If    we accept       the assumptions                 of    the    model then we are led to conclude                                   that   the decline         in   the


shares      of   labor        and capital are caused by an increase in markups and are an ine                                                  cient            outcome


      I   provide        reduced    form empirical evidence that an increase in markups plays a signi                                                       cant role in the decline


of   the labor           share In the data            I    am unable           to    directly         measure markups               instead       I   proxy       for   markups       using


industry         concentration            I    show that those industries that experience                                        larger increases           in    concentration            also


experience         larger declines             in the labor          share           Univariate             regressions         suggest     that the            increase      in industry


concentration                 can account      for    the entire decline                in   the labor             share    These regression                results rely        on cross


sectional        variation         rather      than time series variation                              Furthermore the regression                          results      do not     rely     on


capital     data and are not subject to concerns with the measurement                                                      of    capital    Taken as a whole my results


suggest that the                decline   in the          shares    of    labor       and capital are due to an increase                              in   markups        and    call      into


question         the conclusion           that      the decline          in    the labor share               is   an e    cient    outcome




1         Literature                     Review

There       have been many recent                         empirical           and theoretical               contributions          to   the study           of    the    decline   in the


labor      share          Elsby     et    al   2013 provide                   detailed       documentation of the decline                             in    U.S labor          share       and


Karabarbounis and Neiman 2014 document                                              a global decline              in   the labor    share Many possible explanations


for   the decline             in the labor share have               been put forward including capital-augmenting technological                                                    change


and       the mechanization               of   production           Zeira            1998             Acemoglu          2003        Brynjolfsson                and    McAfee      2014

Summers 2013 Acemoglu                               and Restrepo               2016          a decline            in the    relative      price       of   capital      Jones      2003

Karabarbounis and                   Neiman          2014 capital accumulation                                     Piketty       2014        Piketty         and       Zucman       2014

globalization            Elsby et al           2013 a decline                   in   the bargaining                power    of    labor   Bental and Demougin                      2010

Blanchard          and Giavazzi           2003 and Stiglitz 2012 and an increase in the                                                 cost of housing               Rognlie    2015
I   contribute           to this   literature        by documenting                  and studying the simultaneous                          decline         in    the shares     of    labor


and capital and by emphasizing                             the role of         markups


      The    two closest papers                 to    my work            are    Karabarbounis and Neiman                            2014 and               Rognlie       2015           Both


papers      nd that the capital share does not su ciently increase to o set the decline                                                                    in   the labor share            and




                                                                                                  3
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furthermore              the       capital       share    might       decrease        slightly.1      By contrast              I   nd     a large             decline       in   the    capital


share        The         di   erence        in   our ndings           is    driven     by our treatment             of    the      required             rate of      return on         capital


Karabarbounis and Neiman                                2014         and Rognlie          2015 use          a constant             required rate               of    return      on capital


whereas        I    infer      the       required rate         of    return    from market prices                 Market prices show that the required rate


of   return        on capital declines                   sharply over          the    last   thirty   years which               results in          a dramatic decline                  in    the


capital       share The                  magnitude of the decline in the capital share is                             of   central importance                        for    understanding


why the labor                 share has          declined      While a decrease              in    the labor share            and little           change       in    the capital share


is   consistent          with       a variety      of    economic explanations                 a simultaneous             decline       in    both the labor share and the


capital share             of    similar magnitudes forces                      us to      consider     changes       in    markups as the explanation                                  Further


details      appear           in    Sections       2.6   and 3.4


      Previous studies                    have also considered              the      welfare implications           of    the decline              of    the labor         share Fernald


and     Jones        2014                drawing     on     Zeira      1998           show    that    a decline          in     the     labor           share       that    is   due to the


mechanization                  of    production          leads to      rising      growth and income                 Karabarbounis                       and Neiman              2014 nd

that    the decline             in       the labor share        is    due    in    part to    technological          progress           that reduces                the    relative     cost   of



capital        which          leads to         a substantial increase                in   consumer         welfare       and       in   part to          an increase in markups


which reduces welfare The authors                                   nd that the increase              in   welfare       due to the change in the relative price of


capital       is   far    greater         than the decline that               is   due to the change           in   markups             Acemoglu               and Restrepo             2016

present       a model in which the labor share uctuates                                       in   response to capital-augmenting technological                                        change


and show that the endogenous process of technology                                            adoption       in   the long           run restores the labor share to its

previous       level          Blanchard           and Giavazzi             2003 present            a model in which a decline in the bargaining power                                          of



labor leads          to       a temporary decline               in    the    labor share       and a long-run increase in welfare                                   By contrast          I    nd
that    the decline             in       the labor share        is   due    entirely       to an    increase in markups                  is   accompanied                  by a decline        in



output       and consumer welfare and that without                                     a subsequent         reduction           in   markups              the labor share              will   not


revert to its            previous          level


      This     paper contributes to a large                           literature       on the macroeconomic                     importance               of   pro         ts and    markups


Rotemberg and Woodford                             1995 provide evidence                     suggesting       that the share                  of   pro        tsin value           added was


close   to     zero in the period prior                        to    1987      Basu and Fernald              1997 nd that U.S industries had                                           a pro         t


share    of    most 3 percent                  during the period              1959-1989           Hulten    1986 and                Berndt and Fuss 1986 show that


in   settings       without              pro     tsestimating the payments                   to capital as realized value                     added           less realized        payments


to labor leads to an                     unbiased        estimate of capital              payments     and that          this      estimation            can properly account                  for



cyclical      patterns              in   capital utilization           Past empirical estimates of                   small economic                      pro        tstogether      with the


potential theoretical advantage                           of   indirectly       inferring capital payments                    has led many researchers to prefer the


     1See   Karabarbounis                and Neiman       2014       section   IV.B and column         6 of table        4 Rognlie 2015                  Section     II.B




                                                                                              4
capital




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          assumption   of    zero pro   tsover the direct   measurement   of   capital   payments   The seminal works   of   Jorgenson


          et   al 1987 and Jorgenson        and Stiroh      2000 that measure changes in U.S          productivity   do not estimate


          total   payments    to
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where SL
       t
                           wtLt
                          PY
                           t
                             Yt
                                      is   the labor       share SK
                                                                  t                     PY
                                                                                         t
                                                                                          K
                                                                                   RtP t__1 Kt
                                                                                           Yt
                                                                                                     is    the    capital share            and       S  t
                                                                                                                                                                    t
                                                                                                                                                                   PY
                                                                                                                                                                    t
                                                                                                                                                                      Yt
                                                                                                                                                                             is   the pro           tshare




2.1.1           Mapping to the Data


In   the        data           nominal       gross        value   added        PY Y        is    the       sum        of   expenditures              on      labor        wL gross operating
surplus          and taxes                 on production and imports less subsidies                                        By separating                 gross       operating             surplus into


capital         payments             RPKK          and pro         ts        we get




                                    PY Y       wL          RPKK                         taxes   on production and imports less subsidies                                                               2.3



      The main challenge                      in constructing the capital                        share      of    gross value             added        is    to    compute        the unobserved


required rate                  of   return    on capital           There          are    two approaches                    to constructing                  this   required rate             of   return


The    rst approach                        pioneered        by Hall and Jorgenson                         1967 speci es a required ex-ante rate of return to

capital that              is   derived       from the standard model of production theory The second approach often referred to


as the ex-post rate of return                             on capital assumes that all                        payments             not     made to labor                  are capital        payments


This second               approach           is    equivalent      to       assuming          that pro            tsare      zero       and therefore               it    does not          allow      us to


distinguish           movements               in   the capital share and                  movements              in    the pro           tshare        In order to construct                   separate


time    series of              the capital         and pro        tsshares          I   construct          the required rate                   of   return         on capital as the ex-ante


required rate                  of   return Complete               details of        the construction                   appear       in the next subsection


      An additional                  consideration          has to do with taxes and subsidies on production                                                      Unlike taxes         on corporate


pro        tsit      is   unclear          how to allocate             taxes on          production              across capital                labor     and pro             ts Consistent with


previous            research          I    study the       shares      of    labor capital and pro                         tswithout            allocating the the                 taxes




2.2             The Required Rate                                 of    Return on Capital


The construction                     of    the required       rate of return on capital follows                                  Hall    and Jorgenson                   1967 and is equal to

the rental rate of capital that                            occurs      in    equilibrium             The required rate of return on capital of type s is3




                                                                                  Rs          i __ E[ s                s                                                                               2.4



where       i   is   the       nominal cost of borrowing                     in   nancial markets                      s    is    the in       ation rate of capital                  of    type    s and

s is the depreciation                        rate    of   capital      of    type       s Nominal payments                         to capital          of    type        s are Es            RsPK
                                                                                                                                                                                                s Ks

where       PK Ks is the replacement
                s
                                                              cost      of   the capital stock                   of   type       s Summing across the di                           erent       types        of




                s E s s The
     3The       model of production                presented      in Section       3 has        in   equilibrium           a required          rate of return            on capital    equal      to   Rs
i __ 1 __                                           formula presented          in equation           2.4    is   more      widely       used    in the      literature        In the       data    the   two
versions yield similar results




                                                                                                     6
100




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                                                                                             P
      capital          total      capital      payments                    are    E                   s Ks and the aggregate
                                                                                                   RsPK                                                 required rate              of   return      on capital          is



              P E
                                              P                                               s

      R            PK Ks
                                     where             PK Ks
                                                        s
                                                                       is   the replacement                   cost      of   the    aggregate          capital     stock           The capital share              is
                    s
              s                                s



                                                                                                                 P
                                                                                                                        RsPK
                                                                                                                           s Ks
                                                                                                                    s
                                                                                                       SK                                                                                                        2.5
                                                                                                                        PY Y

                   P
      where            RsPK Ks are total capital payments
                                 s
                                                                                                        and PY Y             is   nominal gross value added
                   s

            To     clarify           the terminology                   and units consider a                          rm that uses 2000 square                           feet      of    o    ce space and 100


      laptops           The          rm's nominal                     cost       of    borrowing            in   nancial           markets        is    6       per    year         The      sale    value   of    the


      o    ce space          is      880 000 at the start of the year and                                               the       o ce   space         is   expected         to    appreciate         in price         by


      4      and depreciate                  at    a rate             of    3          The required rate                     of   return   on     the       o    ce space          is   5      and the annual


      cost    of   the       o       ce space          is   44 000                     0:05             880 000 or 22 per square                                foot The sale value of                     the     100


      laptops       is   70 000 at the start                               of    the   year and the laptops                        are expected             to appreciate               in   price   by   __10
      and depreciate                  at    a rate          of    25 The required rate of return on the laptops                                                        is    41 and the annual cost
      of   the laptops               is   28 700                  0:41            70 000 or 287 per laptop                                   Total capital                  payments          are   72 700 and
      the    total       replacement               cost          of    the       capital          is   950 000               The    aggregate          required rate              of    return      on capital          is


               72;700
      R       950;000
                                      0:08        If   we further assume                           that       the   rm's gross value added for the year is                                     500 000 then
                                                                             72;700
      the    rm's capital                  share       is   SK                                     0:15
                                                                            500;000




      2.3          Data


      Data    on       nominal gross value added are taken from the National Income and Productivity                                                                                         Accounts      NIPA

      Table       1.14         Data on compensation                                   of    employees            are taken          from     the       NIPA       Table           1.14       Compensation              of



      employees           includes           all       wages           in       salaries          whether        paid        in    cash or    in       kind      and        includes         employer costs            of



      health insurance                    and pension contributions                                    Compensation of employees also includes                                     the exercising          of   most


      stock      options;4             stock       options are                   recorded              when exercised the time at which                                     the   employee          incurs      a tax


      liability        and are valued                  at    their recorded                    tax value         the di           erence   between the market price and the exercise


      price        Compensation of employees further includes                                                       compensation             of   corporate            o     cers


            Capital          data          are taken             from            the    Bureau           of    Economic             Analysis       BEA Fixed Asset Table                               4.1        The


      BEA capital                data       provide          measures                  of   the        capital      stock the depreciation                      rate    of    capital        and in       ation        for



           4There      are   two major            types      of employee stock                    option      incentive       stock   options     ISO and nonquali ed stock options NSO
      An ISO cannot               exceed     10    years and                options         for no      more than
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three    categories          of    capital         structures            equipment             and     intellectual       property            products            as well as          a capital


aggregate         The 14th comprehensive                             revision       of    NIPA in 2013 expanded                    its      recognition        of    intangible            capital


beyond       software         to include            expenditures             for    R&D and for entertainment                            literary        and artistic              originals    as


xed investments

      The    data      cover       the       geographic          area       that consists         of    the       50 states     and the District of Columbia As an


example        all     economic             activity      by the        foreign-owned             Kia Motors automobile manufacturing plant                                            in    West


Point Georgia            is      included          in   the data        and    is    re    ected     in     the    measures       of     value      added investment                       capital


and compensation                  of    employees             By contrast            all   economic           activity      by the U.S.-owned                  the    Ford automobile


manufacturing plant                    in    Almussafes Spain is not included                               in   the data       and    is     not re     ected      in    the measures             of



value    added investment                         capital       and compensation                of   employees




                                                                                                                                       E
      The    construction               of    the required rate               of     return      on capital requires that                      I   specify     the        nominal cost             of



borrowing         in   nancial              markets         i    and asset speci                c expected          in    ation                     In   the   main results I                set    i




equal to the         yield on          Moody's Aaa bond portfolio In the robustness subsection                                                     that follows       the       main results


I    show that using the equity cost                            of   capital       or    the   weighted           average       cost     of   capital across              debt and equity


generates      an even larger decline in the capital share Throughout the results asset-speci                                                                     c expected          in     ation


is   calculated        as a three-year moving average                              of realized         in     ation Replacing                 expected       in     ation with realized


in    ation generates             very similar results




2.4         Results


2.4.1        Capital



Figure 1 presents                the time          series of     the required rate of return on capital                            for      the    U.S    non-        nancial corporate


sector      during the            period          1984{2014            In    the     gure the nominal                    cost    of    borrowing          in nancial               markets         is



set    to the yield         on Moody's Aaa bond                         portfolio          and expected            in    ation    is   calculated         as   a three-year moving


average      of   realized         in        ation      The      gure shows a clear and dramatic                                decline        in the     required rate               of   return


on capital           This     result         is   not surprising during the sample                                period the      risk-free          rate the         yield        on the ten


year    treasury undergoes                        a dramatic decline                and risk premia do not increase As a result the nominal cost


of    borrowing        in    nancial              markets        declines      dramatically                 During       this    same period there                   is   little    change         in



the    other      components                of    the required rate             of       return      the depreciation             rate         and expected               capital     in     ation


are roughly          constant               The tted            linear      trend    shows a decline                of   6.6 percentage              points       or 39 percent                 In


summary           the required rate                  of   return       on    capital declines               sharply      driven        by a large decline                  in   the    risk-free



rate


      The decline           in    the required rate               of   return        on capital         need not translate               to     a decline      in    the capital            share




                                                                                                 8
research




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           Indeed     rms can respond                     to    the   decline    in the required          rate    of   return      on capital by increasing              their use


           of   capital     inputs           However           during    the    sample      period the        ratio     of       capital    to   output     does   not    increase


           su     ciently   to   o    set    the decline         in   the required required rate of return                   on capital and as a result the capital


           share declines             Figure    2 presents            the time   series    of    the    capital share       of   gross value       added    for   the   U.S non

           nancial corporate sector during the period 1984{2014                                         The gure shows a clear and dramatic decline                         in   the


           capital    share The tted                 linear      trend   shows a decline           of   7.2 percentage           points    or 30 percent           In summary


           rms did not           accumulated              enough       capital to o       set    to decline      in the     required rate          of   return    on capital and


           as a    result   the capital share              of   output    declines sharply




           2.4.2      Pro        ts




           I   construct    pro        tsas the di         erence      between     gross value          added and the sum of labor costs capital costs and


           indirect   taxes      on production                 This construction      is    described       above      in   equation       2.3 Pro        tsare constructed       as


           a residual that        measures the dollars left over from production after rms pay all measured costs of production


           The     measure       of   pro      tsincludes         economic pro            ts and potentially           unobserved          costs   of   production       Figure    3


           presents    the time             series   of   the    pro      tshare    for    the    U.S non-        nancial corporate              sector    during       the period


           1984{2014         Consistent with               previous
17




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     1.35   trillion   or
I
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of




that
     investment


Prescott 2010


on the omitted or unobserved


assets that the




capital


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      The




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                               2014
                                    these productive




                               BEA classi

                              them in my measure




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                                                Second we must correct




                                                 RKPKK




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                                                             to




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                    Nominal gross value added equals PY Y




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                                                              gross value




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                                                                                 capital




                                                                          construction


                                                                         RXPXX where RKPKK are the
                                                                               are the


                                                                                stock




                                                                                 the
                                                                                       z IX
                                                                                    added


                                                                                 R{zXPXX
                                                                               tsadjustment
                                                                                            is




                                                                                            ask


                                                                                          pro
                                                                                               of
                                                                                                      the


                                                                                               Currently


                                                                                       Recognizing




                                                                                               payments
                                                                                                        of
                                                                                                            measure




                                                                                                     payments




                                                                                                      capital


                                                                                                      IX




                                                                                                    adjustment
                                                                                                                         has been discussed extensively by McGrattan




                                                                                                                 capital costs




                                                                                                                  where PY Y


                                                                                                    nominal investment




                                                                                                                   1
                                                                                                                   A    __
                                                                                                                             0




                                                                                                      how large the unobserved


                                                                                                        tcorrection
                                                                                                                              of   capital




                                                                                                                                     is




                                                                                                                                   RKPKK
                                                                                                                                  capital
                                                                                                                                          and pro




                                                                                                                       on the omitted capital


                                                                                                                      and    RX
                                                                                                                                                    payments


                                                                                                                       my measure of capital payments

                                                                                                                  these potentially


                                                                                                                         As a result my measurement




                                                                                                                                                        total
                                                                                                                                                             productive




                                                                                                                                          the required rate of




                                                                                                                                  IX __ RXPXX
                                                                                                                                              is



                                                                                                                                              in
                                                                                                                                                   the nominal value


                                                                                                                                                    the potentially




                                                                                                                                                             z RXPX X
                                                                                                                                               payments adjustment
                                                                                                                                                                               so that




                                                                                                                                                                     tsare as follows


                                                                                                                                                                     capital


                                                                                                                                                                              PXX




                                                                                                                                                                   capital stock


                                                                                                                                                                         is
                                                                                                                                                                                     payments




                                                                                                                                                                               allowed
                                                                                                                                                                                          is




                                                                                                                                                                                          A
                                                                                                                                                                                                it




                                                                                                                                                                                                 of




                                                                                                                                                                                                the


                                                                                                                                                                                              return


                                                                                                                                                                                               of



                                                                                                                                                                                          omitted




                                                                                                                                                                                          1
                                                                                                                                                                                               __
                                                                                                                                                                                                      includes


                                                                                                                                                                                                     includes


                                                                                                                                                                                     assets as capital requires


                                                                                                                                                                                                       capital




                                                                                                                                                                                                      wL
                                                                                                                                                                                                           Total


                                                                                                                                                                                                              on
                                                                                                                                                                                                                     payments


                                                                                                                                                                                                                    only those




                                                                                                                                                                                                                     payments




                                                                                                                                                                                                           on this capital


                                                                                                                                                                                                      gross value


                                                                                                                                                                                                              or unobserved




                                                                                                                                                                                                would have to be in


                                                                                                                                                                                                to     be any arbitrary
                                                                                                                                                                                                                             added
                                                                                                                                                                                                                                  and




                                                                                                                                                                                                                            nominal


                                                                                                                                                                                                                    the capital


                                                                                                                                                                                                        nominal value of




                                                                                                                                                                                                                                 2.6


                                                                                                                                                                                                                                 2.7




amount then we cannot                              rule      out the hypothesis                         that           pro        tsare always                     zero i.e that the decline                                 in   the


share          of   labor     is   o     set    by an increase                 in     the      share        of   capital           Thus            in   order to make                     progress            I    will     need to


make some assumptions                             that       restrict          unobserved               investment                 and unobserved                             capital costs                First        I   assume


that       investment is at                    least    as large as depreciation                                 This appears                 to    be       a mild assumption especially                                     when

applied to the                 analysis          of     long-run          trends               if    investment              is   consistently lower                            than depreciation                         then    the


stock          of   unobserved            capital goes             to zero.7            Second              I    assume that the required rate of return on the omitted


                                                                                            X X                                           X
                                                                          __



or unobserved                 capital stock             is   RX                i __   E                                where       E                    is       the expected             in         ation of productive


asset      X and X                 is    the rate of depreciation                         of   productive               asset      X Last                    I   assume that the expected in                                   ation


of   productive               asset       X is equal to the expected                                   in       ation of the           assets classi                      edby the               BEA as intellectual

property             products              The         results that follow                          are very           similar if         I        assumed that the expected                                       in       ation   of



productive              asset       X is equal to the expected in                                     ation of the aggregate capital stock                                           or       equal to the expected


     7In       order to     maintain           a capital     stock that          does       not       decline     in value relative                to    output               investment         needs        to   be at least      as

                    X          PXX where X
                __


large      as             g                                  is   the    depreciation               rate of      the   unobserved         capital                stock    and    g   is   the        growth    rate of       output




                                                                                                                 11
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in     ation of           gross value        added

       Under these assumptions the correction to pro                                                            tsthat          results from taking                        into account          this        potentially


                                                                                                                                                                               X
                                                                                                                                                             __

omitted         or   unobserved              capital stock              is at      most the net return on the capital                                             i   __   E               PXX This implies
                                                                                                                  X            PXX In order to eliminate pro tsthe nominal
                                                                                             __



a lower         bound           on true pro               TRUE
                                                         ts                             __        i    __   E

value      of   the unobserved                capital stock                  has    to   satisfy




                                                                                         PXX                                                                                                                          2.8
                                                                                                                i   __    E[ X


       I   construct            the     nominal value break-even                                  stock         of      omitted           or     unobserved                capital        as                       This        is
                                                                                                                                                                                                i__E[    X


represented               on the right-hand side of equation                                  2.8           and      is   a lower bound on the nominal value                                       of    the stock             of



omitted         or unobserved                 capital that rationalizes zero                                    pro            tsFigure 4 plots the break-even                                  stock        of    omitted


or unobserved                  capital as         a fraction           of    observed             gross value                  added The               break-even               unobserved              capital stock


is    increasing           during the             sample          period from an estimated                                         70       of    gross      value          added         in    1984 to           560 in

2014 To o er                    a sense      of   magnitude                  during the same period the                                     combined              value        of   all    capital recorded                by


the    BEA uctuates                     between          135 and 185 of observed gross value added                                                                    By the end of              the     sample the


break-even            stock       of    omitted or unobserved                           capital needs to                           be three times the value                         of    the   observed            capital


stock in order to rationalize zero pro                                       tsin 2014                 Indeed the value of omitted                                    or   unobserved            capital needs to


be    560 of the value of observed gross value added or 48 trillion                                                                              If   the hypothesis                that the decline                 in   the


labor share               was o set         by    an increase capital share was true then break-even                                                              stock        of   omitted        or unobserved


capital needs to increase                         from    70 of gross value added                                         in   1984 to 560 in 2014 This 490 percentage point


increase        amounts            to   42 trillion               in   2014


       Thus far I have not taken                              a   stance         on the precise nature of the omitted or unobserved                                                             stock        of    capital


Instead         I    have        asked       how large             this          omitted              or unobserved                  stock        of   capital             needs     and what time                   series



properties           it    needs       to   posses       in   order to eliminate                            pro         ts I       nd that as a fraction of gross value added the

value      of   this       omitted          or unobserved               stock       of   capital                would need to increase quadratically during                                                  the    sample


period       and reach             48 trillion            by the end               of    the           sample             Now            an alternative               approach            to the    problem               of   a


potentially               omitted or unobserved                        stock       of    capital             is     to take          a    stance       on the precise nature                       of    this       capital


and then attempt to measure it                                     Past research                      on the subject                 of    intangible capital                   has taken          this       approach


most notably Corrado et al                               2009 2012                       In Figure                  4     I    have included             a   line          that     represents          the        value       of



all    intangible              capital that         is   constructed                by Corrado                      et        al   2012 except                for          that     stock       that     has already


been accounted                   for    by the      BEA As                  is   clear   from the                   gure the               value       of    the additional                stock        of   intangible


capital that              is   constructed         by Corrado et al 2012 does not have the needed time-series properties                                                                                          the time


trend of the               value   of this        additional            stock       of   intangible capital                          does not increase                      quadratically           as a share of



                                                                                                                12
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observed           gross value              added and the value of this capital                                             stock       is far     too      low     does not exceed 1.4 trillion


From these              results         I   conclude            that the             large decline                in the capital share                      and the large increase in the pro                                 t


share are unlikely to                        be driven by unobserved                                  capital




2.5.2         Debt and Equity Costs of Capital


Thus     far       I    have assumed that the cost                                     of   borrowing                 in    nancial markets                   is   equal        to   the yield       on Moody's


Aaa bond portfolio                          I    now show that using the equity cost                                             of    capital or the             weighted           average       cost of    capital


across debt             and equity leads                       to   larger estimated decline                                in the capital              share           Furthermore            I   show that the


yield on       Moody's Aaa bond                               portfolio             that    I    used in the main analysis                             is   similar in          both levels and trends to


the    Bank        of    America Merrill Lynch representative                                                bond          portfolio         in   the overlapping                 period       1997{2014


       Unlike the         debt cost                   of capital      which           is observable                in      market data the equity cost of capital is unobserved


Thus constructing                       the equity cost                   of    capital requires                   a model of equity prices that relates observed nancial


market data              to    the          unobserved              equity cost                 of    capital         A standard model for constructing the equity cost of

capital       is   the    Dividend Discount Model                                      DDM                  In    the      DDM8 the equity cost of capital is the sum of the

risk-free rate           and the equity risk premium and the                                                     risk      premium is equal to the dividend                               price ratio             Based


on this model I construct                                 the equity cost                       of    capital as the              sum of the yield on the ten-year U.S                                      treasury


and the dividend                   price          ratio of          the    S&P 500

       Figure          5 plots the debt cost                         of    capital          and the equity cost                         of   capital          The debt            cost    of    capital      is   equal


to the       yield      on     Moody's Aaa and the equity cost                                              of    capital         is   equal      to    the sum of              the yield      on the ten-year


U.S treasury and the                             dividend           price           ratio of the            S&P 500                   The gure displays                   several        important          features


First     both the debt                         cost     of    capital         and the equity cost                          of    capital are declining during                           the       sample     period


Second         before         1997 the equity cost                             of    capital          is   higher than the                debt cost           of   capital           but after 1997 the two


costs    of    capital are                  extremely similar As a                                   result calculating                  the      required         rate    of    return        on capital using

the equity cost               of   capital             results in         a greater decline                      in   the capital share over time at the start of the                                         sample


the capital share                  is       larger       than in          my estimates and by the                                     end of the sample the capital share                              is   equal to


my estimate               Since the debt cost                             of    capital          is    lower      than the equity cost                       of    capital at the           beginning             of   the


sample and the two are approximately equal                                                           later in      the      sample my constructed                           series of      the required                rate


of   return on           capital            and the capital share serve                                    as a lower        bound on the decline                         in    capital    share


       Figure          6 plots the yield on Moody's Aaa bond                                                  portfolio               Moody's Baa bond                    portfolio         and the Bank                 of



America Merrill Lynch representative                                                 bond        portfolio.9               In the overlapping                 period        1997{2014 Moody's Aaa

     8This    results     is   based on the               assumptions                that the         growth      rate of dividends            is   constant        and    is   equal to the risk-free            rate
     9The BofA Merrill Lynch                          US Corporate             Master       E        ective Yield       tracks the performance                     of   US dollar denominated           investment

grade rated         corporate           debt          publically issued in the                   US    domestic         market          To   qualify for inclusion              in the   index      securities         must
have    an investment              grade         rating       based on an average                     of    Moody's         S&P and Fitch and an investment                              grade rated        country      of

risk   based on an average                       of   Moody's        S&P and Fitch foreign                         currency           long   term sovereign             debt    ratings     Each      security         must




                                                                                                                  13
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bond        portfolio       and the Bank               of    America Merrill Lynch                        representative               bond     portfolio      display     similar levels


and trends With the exception                                of   the    great     recession              the     Bank     of     America Merrill Lynch                   representative


bond        portfolio       appears        to    have a yield equal to or below                             the    yield     on Moody's Aaa bond                        portfolio          While


Moody's Aaa has a higher grade                                 than the representative                         portfolio        it     also   has a longer          maturity and              this



can explain why the two                         portfolios        have similar yields throughout                             the       sample         The     gure also shows that

Moody's Baa bond portfolio closely tracts the time series trend                                                     of the        Moody's Aaa bond                  portfolio although


the    two portfolios have a di erent                          price level




2.5.3          Taxes



I   now consider            speci     cationsof the required rate of return                                on capital that include the tax treatment of capital


and debt The two speci                          cations are common in the                          literature.10          The rst speci               cation accounts               for   the tax


treatment            of   capital      Unlike      compensation               of   labor           rms are unable                    to fully   expense investment                   in   capital


and as a result the corporate tax rate increases the rm's cost                                                      of    capital       inputs        In order to account                 for the



tax treatment               of   capital the           required        rate of     return          on capital       of    type        s must be




                                                                        Rs       i __ E[ s                 s      1 __ zs

                                                                                                                   1 __
                                                                                                                                                                                            2.9



where           is   the corporate          income tax rate and zs is the net present                                     value        of   depreciation       allowances            of   capital


of   type      s The second speci                      cation accounts             for   the       tax treatment             of      both capital and debt Since                          interest



payments             on debt are tax-deductible                         the   nancing               of    capital    with debt              lowers      the   rms cost of capital

inputs          In order to account                for      the   tax treatment               of    both capital and debt the required rate                                    of    return     on


capital        of    type s must           be


                                                              Rs        i      1    __         __   E[ s           s      1 __ zs

                                                                                                                           1 __
                                                                                                                                                                                           2.10



       I   take      data    on     the    corporate tax               rate   from the              OECD          Tax     Database            and     data     on    capital         allowance


from the Tax Foundation                            I    nd that constructing the required                                  rate        of   return      on    capital     in    accordance


with       equations         2.9    and 2.10 generates a decline                         in   the        capital share that                 ranges    from 17 to 35 percent                     In


summary              I    nd that speci cations                   of   the required            rate       of   return that include                the    tax treatment               of   capital


and debt show a large decline                           in   the capital         share

have       greater   than   1 year of      remaining        maturity a xed coupon                   schedule       and a minimum amount                 outstanding       of   250 million
    10See      for example          Hall   and Jorgenson           1967       King and             Fullerton      1984       Jorgenson          and   Yun 1991 and              Gilchrist     and
Zakrajsek         2007           Past research     has       included    an   investment            tax   credit   in the       calculation      of   the    required    rate       of return   on

capital       the    investment      tax credit expired           in 1983     which      is   prior      to the   start of   my sample




                                                                                                   14
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2.6          Discussion


Karabarbounis and Neiman                                   2014 and Rognlie 2015 study the decline                                                    in the labor share               and additionally


provide           an    estimate of the                     capital            share           In       both cases             the   authors          nd        that    the       capital       share   is   not


su      ciently         increasing             to o       set       the decline          in labor              and further the capital share might decrease                                      slightly

                                                                                                                                                            K
                                                                                                                               it+1__E[    t+1]+      t)P   t__1 Kt
       In    this      paper          I    construct                the    capital        share           as    SK                                                       We can decompose my
                                                                                                                 t
                                                                                                                                            PY
                                                                                                                                             t
                                                                                                                                               Yt


construction             of    the        capital share into the                         product           of       three terms




                                                                                     PIt It             PK
                                                            SK  t
                                                                                    PY Yt
                                                                                                         t__1Kt

                                                                                                         PI It
                                                                                                                          it+1 __ E[            t+1         t                                            2.11
                                                                                     t                     t




The      rst term              in    the decomposition                         is    the ratio           of    nominal investment to nominal gross value added                                               The


second         term is the ratio of the nominal value                                          of       the capital stock            to    nominal investment                     The     last   term is the


required rate             of    return              on capital            Karabarbounis and Neiman 2014 assume that the                                                           ratio   of    the    nominal


value       of    the    capital stock                to nominal                investment is constant                         and that the required rate                         of   return     on capital


is   constant.11              These assumptions                           lead the authors                     to    measure the percentage                     change      in    the capital share as


the percentage                 change           in   the      ratio       of   investment                to    gross value        added          Figure 7 plots the ratio of investment


to gross value                added            in   the    U.S         corporate              sector       using         the   NIPA data The gure shows that the ratio of

investment              to value          added           has no          linear time              trend            The estimated linear time trend                          is   economically          trivial



and     statistically            zero.12             The methodology                      of       Karabarbounis and Neiman 2014 when applied                                                    to   the    U.S

non-        nancial corporate sector                                does not suggest a decline                            in   the capital         share


       Rognlie          2015 provides                      two measures                   of       the capital share.13                   In the      rst measure the author assumes


that     the required                rate       of    return          on capital              is   constant              This assumptions                  leads the author to                  measure the


percentage              change            in    the    capital            share as the                  percentage             change      in    the       ratio   of   the       value    of    the    capital


stock       to gross value                 added Using this measure                                       Rognlie         2015 nds a slight increase in the capital share

These        results are             consistent            with my ndings                           I    nd that the ratio of the value of the capital stock                                           to gross


value       added        is    increasing             slightly            over the period                 1984{2014              In the second              measure the author constructs


a time         series of        the       real interest                rate from              the       market and book                   values      of    the    U.S      corporate          sector        This


construction              of    the real             cost       of    capital produces                     values        that     are     inconsistent            with observed             market data


Most importantly the construction does not match the observed decline                                                                              in      market prices Combining NIPA

     11The       construction         of the        capital         share in Karabarbounis                     and Neiman        2014       appears in Section           IV.B The assumptions                of   a

constant         ratio of the        nominal         value      of    the capital        stock to         nominal        investment       and   a constant        required    rate of      return on capital

appear on         p 92
     12These      results      are   not directly           comparable to Karabarbounis and Neiman 2014 Figure IX There are two main di erences
First Figure            IX is constructed                 usingGDP data rather than corporate data The GDP data include investment in residential
housing        and      the    contribution            of residential housing  to GDP    Rognlie 2015 provides a detailed discussion of the role of

residential        housing           Second          Figure IX            is   constructed          using       data     over the    period      1975{2011            The   ratio of      U.S    non-    nancial

corporate         investment          to gross value                added      has    no time trend             over     the   period     1975{2011
     13The       construction         of the capital                share appears         in Rognlie            2015       Section      II.B




                                                                                                                    15
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data      with       the        cost      of    capital presented                   in   Rognlie       2015 I nd no decline in the capital share.14

      I   conclude              that          my nding of a declining capital                                  share in the U.S non-                            nancial corporate                 sector       is   new


to the       literature               is      not     due to di erences                   in       time       periods and                is    not   due to di           erences        in    the sources or


quality         of    data           Instead               I   nd a decline              in    the capital share                   due to my treatment                         of    the required rate                of



return       on      capital              I    directly          infer     the required rate                  of    return        from market prices                         Market prices show that


the required rate                    of       return           on capital declines sharply over the                                    last thirty         years which              results in         a dramatic


decline         in    the capital                  share         Measures           of   the capital share that                          assume a constant                    required rate              of    return


show no decline


      While my research focuses on the                                              U.S        non-       nancial corporate                     sector          there    is    reason        to    believe          that


many other                countries             experience               a decline       in    the capital              share Karabarbounis and Neiman                                  2014 show that

the       rate of investment does                               not increase             in   many advanced                      economies            At the same time many advanced


economies             experience                   a decline        in the cost           of       capital driven                by    a decline in government                       bond yields Taken


together             a large decline                  in       the cost of capital             and the constant                    investment rate suggest that the capital share


may be declining globally                                      Further research               is   needed          to   study the capital share                        in    other    countries




3          Model of the Corporate Sector

In    this      section          I   present           a standard general                          equilibrium               model of monopolistic competition to                                       study the


decline      in the shares                     of    labor        and capital In the model I allow changes                                                in   technology preferences                         relative



prices       and markups                       to cause the decline                  in   the shares of labor and capital                                  The model distinguishes                        between


two types            of    changes                 joint       movements in which the shares of labor and capital move together and o                                                                         setting


movements                  in   which a change in the share of labor is perfectly o set by an equally sized change in the capital


share      of     the      opposite                sign         In Proposition                1 I show that changes in technology                                            preferences           and        relative



prices      can only cause o                         setting        movements             in       the shares           of   capital          and labor i.e any change                        in   preferences


technology                or     relative            prices        that causes            the       labor      share          to decline             must cause             an equal         increase in the


capital      share              A corollary to this proposition is that only an increase                                                             in   markups            can cause        a joint decline


in   the shares             of   labor             and capital


      A fully             speci      ed calibration                  of    the      model decomposes                         the observed             changes           in    the shares          of    labor       and


capital         into       joint       movements                   and o        setting            movements                 I   calibrate           the       model to the U.S non-                          nancial


corporate            sector          and show that the declines                               in    the shares           of      labor        and capital are entirely joint                       and are due

 14The       cost         of capital          is   presented        in Rognlie        2015           Figure        7    The      gure shows           estimated        constant        linear      and    quadratic

approximations              to the            cost   of capital          The    constant       and    quadratic          approximations              do    not      decline   over    the   period      1984{2014
Thus using           these approximations                        leads    to a slight increase in the capital                     share        The linear approximation shows a small decline
in the     cost      of    capital         equal to            2pp every       25   years      When       I   calculate          the    required      rate     of   return    on capital      using      this linear

approximation to                 the real          cost of capital         I   nd no decline in the capital                       share




                                                                                                               16
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to   an increase in markups                                 Using the calibrated model I further                                                explore         the   welfare        implications         of    the


increase in markups                         The model in this                      section        is   standard            in     order to ensure that                     my results are not            due to


novel modeling features                                but rather are a direct consequence                                      of      my measurement                 of    the     capital    share




3.1        Model


3.1.1          Final Goods Producer



The    corporate                 sector      is    made up              of    a unit measure                  of      rms each                  producing         a di      erentiated         intermediate


good The nal good                            is   produced              in   perfect       competition as                    a CES aggregate                     of   the intermediate           goods


                                                                                                       01                       1 t    t__1
                                                                                                                   t__1

                                                                                    Yt                        y i;t
                                                                                                                      t
                                                                                                                           di
                                                                                                                                A                                                                          3.1
                                                                                                          0




where      t                1   is   the   elasticity         of        substitution            between               goods            The pro             ts of the       nal goods          producer are

               1

PY
 t
   Yt __           pi;tyi;tdi              where         PY
                                                          t
                                                                  is    the exogenous                  price        level       of      output        and pi;t        is   the      endogenous          price    of

               0

intermediate                good i The solution to the cost minimization                                                    problem together with the zero pro                                   tcondition


of   the   nal goods producer                               leads to the following                      demand             function             for   intermediate             good i




                                                                                                                                        __"t
                                                                                                                           pi;t
                                                                                   Dt pi;t                         Yt                                                                                      3.2
                                                                                                                           PY
                                                                                                                            t




3.1.2          Firms


Firm i produces intermediate good                                           yi;t   using      the constant                 return to            scale      production              function




                                                                                         yi;t                 ft    ki;t     li;t                                                                          3.3



where      ki;t        is   the       amount           of   capital          used in production and                             li;t    is    the     amount of labor used                 in   production

In period          t    __ 1         the   rm exchanges one-period                                nominal bonds                        for     dollars     and purchases               capital   ki;t    at the


nominal price                   PK
                                 t__1      In     period      t    the       rm     hires       labor         in   a competitive                    spot    market at the nominal wage                         rate



wt   and produces                     good      yi;t    which          is   sold   at    price     pi;t      y          After production                   the    rm pays the            face    value     of   its



debt    and       sells         the undepreciated                      capital at the             the     nominal price PK
                                                                                                                         t
                                                                                                                                                      The rm's nominal pro                      tsare




                                           i;t                    max pi;tyi;t
                                                              ki;t;li;t
                                                                                         __   1         it    PK
                                                                                                               t__1ki;t __ wtli;t                      1   __   t PK   t    ki;t




                                                                  max pi;tyi;t           __   RtPK
                                                                                                 t__1ki;t               __ wtli;t                                                                          3.4
                                                              ki;t;li;t




                                                                                                              17
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                                                       P tK __P t__1
                                                                 K
where Rt                 it    __   1    __   t             PK
                                                             t__1
                                                                                   t    is   the required rate                          of   return         on capital


      The     pro              tmaximization                   problem of                     the      rm determines the demand                                          for    labor    and capital inputs as


well as pro                   ts as a function                    of   the current period                               nominal              interest        rate the current period nominal wage

                                                                                                                                                                  f                                                       t
rate and aggregate                        output              The rst-order condition                                         for       capital        is pi;t
                                                                                                                                                                  k           tRtPK
                                                                                                                                                                                  t__1        where        t             t__1
                                                                                                                                                                                                                                is


                                                                                                                                                                                                               f
the   equilibrium                   markup over marginal cost                                          Similarly the                     rst-order condition                      for   labor      is   pi;t
                                                                                                                                                                                                               l          twt
Integrating              demand               across         rms determines the corporate                                                sector            demand        for    labor    and capital inputs as


well as      pro              tsas   a    function            of       the nominal                    interest           rate the nominal wage                            rate and aggregate output




3.1.3         Households



A representative                     household               is     in         nitelylived                 and has preferences                             over   its   consumption fCtg and                       its    labor


fLtg that are represented                                   by the         utility           function




                                                                                                           X
                                                                                                                   tU Ct;Lt                                                                                                3.5
                                                                                                               t




The     economy has a single savings vehicle                                                   in the              form       of    a nominal bond investment                                of   1 dollar in period


t   pays 1              it+1 dollars in period                             t        1 In addition                        to labor            income          and       interest   on savings             the household


receives          the     pro        ts of the              corporate               sector             The             household             chooses         a sequence           for   consumption                fCtg and


labor   fLtg to maximize utility                                    subject             to    the          lifetime           budget          constraint




                                                                                             X                                               X
                                                                                   a0                 qt   wtLt               t                       qtPY
                                                                                                                                                         t Ct                                                              3.6
                                                                                              t                                               t




                                                                                                                                              Q
                                                                                                                                                      1           __1
where a0           is    the initial              nominal wealth                        of   the household                         qt                        is          is    the date zero price of               a dollar
                                                                                                                                             s    t

in   period        t wt is the nominal wage                                        in   period             t       t    are   nominal corporate pro                             tsin period         t and PY
                                                                                                                                                                                                           t
                                                                                                                                                                                                             is the



price   of    a unit           of    output            in    period            t

      The     utility          maximization problem of the household                                                          determines the supply of labor                            and nominal household


wealth as           a function                 of      the     path of nominal interest rates the path                                                            of    nominal wage              rates    and      the net


present       value of              nominal corporate                           pro           tsThe inter-temporal                                rst-order condition                   of   the household               Euler
                                                                                                 __1
                                                                                   P Yt+1__P Y    t                Uc(Ct+1;Lt+1
equation            is    1                   1        it+1            1                                                                          and the intra-temporal                     rst-order condition
                                                                                        PY                              Uc(Ct;Lt
                                                                                         t



MRS          is   Ul     Ct;Lt                    __
                                                       wt
                                                       PY
                                                          Uc        Ct;Lt The nominal wealth                                                 of   the household                follows the        path
                                                        t




                                                                               at+1           1            it      at         wtLt            t       __   PY
                                                                                                                                                            t
                                                                                                                                                              Ct                                                           3.7




                                                                                                                         18
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3.1.4           Capital Creation



I   assume that           all    agents in the                 model have                free    access          to    a constant           returns to scale technology                        that converts


output         into capital          at       a ratio of 1                 t    I   further          assume that this technology                              is   fully   reversible.15              Arbitrage


implies         that in period                 t t       units        of   capital        must have the same market value as 1 unit of output                                                         This pins


down the           relative       price           of    capital

                                                                                                     PK
                                                                                                                                                                                                                    3.8
                                                                                                       t               __1

                                                                                                                       t
                                                                                                      PY
                                                                                                       t




3.1.5           Equilibrium



In equilibrium              three        markets               will    need         to   clear         the       labor        market the capital market and the market                                                for



consumption               goods           The           labor       market clearing                   condition equates                         the household          supply of              labor with the


corporate           sector       demand                 for    labor           The capital market                           clearing        condition         equates         the       nominal           value        of



household           savings        at+1           with the nominal value                              of   the        corporate            sector     demand         for     capital          PK Kt+1
                                                                                                                                                                                               t                     The


aggregate          resource        constraint                  of   the economy measured                               in nominal dollars                   can be written               as




                                                                      PY
                                                                       t
                                                                         Yt              PY
                                                                                          t
                                                                                            Ct             PK Kt+1 __ 1 __
                                                                                                             t
                                                                                                                                                Kt                                                                  3.9



By Walras law the aggregate                                    resource constraint                     of        the   economy             will    hold if    the     labor and           capital markets


clear     and the households                           are on        their      budget          constraint                 An equilibrium16 is a vector                           of   prices        it   w     t    t2N


that      satisfy        the aggregate                  resource constraint                      and clear             all    markets            in all     periods        Since        all   rms face               the


same factor costs and produce                                   using       the      same technology                         in   equilibrium17 they                 produce           the    same quantity


of   output        yt       Yt   and          sell      this   output at the same per-unit                                    price      pi;t         PY
                                                                                                                                                       t




3.2            The Roles of Technology                                                   Preferences                        and Markups


Proposition               1 When markups                             are   xed any decline in the labor share must be o set by an equal increase

in the        capital     share



Proof In equilibrium a marginal allocation plan of labor across rms fdli;tg i increases aggregate output by
1                                             1

    t PYwt

          t
               dli;tdi          t PY
                                   wt

                                     t
                                                  dli;tdi       Since        the       aggregate            output           response            to   a marginal allocation plan depends
0                                             0



    15Without        this    assumption                 the    relative        price     of    capital      is    pinned          down     so long     as   investment       is    positive          In   the       data
investment         in each      asset     is      positive     in each       period           Moreover           the   data       show     no substantial          movement        in the      relative    price        of

capital       over the    sample period
    16Firm optimization requires                               rms have                                                                     and house optimization requires
                                                              t
                                                        that                     beliefs over aggregate                    output     Yt                                                       that households

have    beliefs over        corporate          pro       ts          Equilibrium          further requires                 that   rm beliefs and household beliefs hold true
    17With       a constant      returns           to   scale production             technology            and the speci            ed market         structure there        is   no indeterminacy                  in the

rm's maximization problem                               In    more    general       cases        indeterminacy               may arise in which               case   there    can      exist       non-symmetric
equilibria        With     appropriate              regularity        conditions          it    is   possible         to select     an equilibrium by assuming                    that   for a given        level       of

pro     ts    rms will      choose       to    maximize their size




                                                                                                             19
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                                                                                     1

only    on the aggregate increase                in       labor          dLt             dli;tdi                 we have a well de                 ned notion    of   the   aggregate
                                                                                     0
                                                                                     Yt
marginal productivity             of   labor that              is   equal     to
                                                                                   Lt             t PY  wt

                                                                                                            t
                                                                                                                   Similarly         for   any marginal allocation              plan   of


                                                                     PK
                                   Yt
                       rms we have Kt                     tRt         t__1
capital across                                                                 Rearranging                      these equations          we have the following expressions
                                                                      PY
                                                                       t



for   the labor    and capital shares of gross value added




                                                                                            __1                  log Yt
                                                                         SL
                                                                          t                 t
                                                                                                                                                                                 3.10
                                                                                                                 log Lt

                                                                                                                 log Yt
                                                                                            __1
                                                                      SK t                  t                                                                                    3.11
                                                                                                                 logKt



Summing across the shares of labor and capital we                                          have




                                                                               __1
                                                                                                   log Yt                   log Yt
                                                  SK  t
                                                                    SL
                                                                     t         t
                                                                                                                                                                                 3.12
                                                                                                   log Lt                   logKt
                                                                                                                   z
                                                                                           constant=scale              of   production




The combined           shares of labor         and capital are a product                             of     two terms the equilibrium                      markup and the scale


of   production



Remark     1      The    proof    of    the     proposition does                     not        rely    on any assumptions                     of    household        behavior    rm
ownership      or the     functional           form       of    the   production function                           Furthermore              the proof does not          rely   on the


assumption        of   constant    returns       to       scale       and holds           for     any xed returns to                       scale   parameter



Corollary      1 When markups are xed any change in preferences                                                               technology       or    relative   prices   that causes


the labor share to decline             must cause               an equal increase in the                           capital     share




3.3      Model-Based                   Counterfactual                              and Welfare


In this subsection        I   calibrate    the    model to and calculate                             the welfare             consequences           of   the increase in markups


inferred   from the data




3.3.1      Functional          Form Speci                 cations



I   assume that        rms produce         using          a CES production function




                                        yi;t          K         AK;tki;t
                                                                                   __1
                                                                                                 1     __       K   AL;tli;t
                                                                                                                                     __1     __1
                                                                                                                                                                                 3.13




                                                                                            20
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where           is   the    elasticity        of    substitution                     between labor                    and capital                   In equilibrium aggregate                     output     is   a


CES aggregate               of   labor       and capital with parameters that are identical to the                                                                  rm        level   production function




                                                   Yt             K AK;tKt
                                                                                             __1
                                                                                                            1        __   K          AL;tLt
                                                                                                                                                      __1          __1
                                                                                                                                                                                                          3.14



The rst-order conditions                       of   rm optimization are

                                                                                           __1
                                                                                                             1                                     PK
                                                                                 KA        K;t
                                                                                                       Yt
                                                                                                                                      tRt           t__1

                                                                                                                                                    PY
                                                                                                                                                                                                          3.15
                                                                                                       Kt

                                                                                           __1
                                                                                                             1                                       t



                                                                                                       Yt                                     wt
                                                                  1 __ K)AL;t                                                         t                                                                   3.16
                                                                                                       Lt                                     PY
                                                                                                                                               t




I   assume that household                     preferences                   over      consumption                    fCtg and labor fLtg                             are represented           by the utility



                                                                             X
function

                                                                                                                                          1
                                                                                      t     log Ct          __                       L   t
                                                                                                                                                                                                          3.17
                                                                                                                                1
                                                                                 t




                                                                                                  L
                                                                                                        1
                                                                                                                                   __
The intra-temporal rst-order condition                                           MRS         is         t
                                                                                                                      wt
                                                                                                                      PY
                                                                                                                               C t
                                                                                                                                             and the inter-temporal rst-order condition
                                                                                                                          t

                                                                                                                                        Y __1                            __
                                                                                                                              PY
                                                                                                                               t+1 __P t                   Ct+1
of   the household              Euler equation                    is   1               1      it+1               1
                                                                                                                                   PY                       Ct
                                                                                                                                    t




3.3.2          Moments and Parameter                                        Values



The     model has two capital parameters                                         the      relative          price         of    capital            which       I    normalize to         1 and the depre

ciation        rate which          I   match        to          the    average            depreciation                rate           of      capital      in       the    BEA      data       The model has


four production                 parameters              I   consider             values      of    the       elasticity                  of   substitution               between      labor    and capital


between 0.4 and 1.25                     I   calibrate                the    remaining three                      parameters                       K;AK;AL to match the labor share
and the capital to output ratio in 1984 and to equate the level                                                                      of      output across the di                  erent     speci   cations     of



the    elasticity      of   substitution                    The model has three preference                                           parameters                I    set   the    rate   of   time preference


to the standard value                  of     0.95          I   consider             values       of   the       Frisch              elasticity          of    labor      supply             between 0.5 and


4 and      I   normalize the disutility                          of    labor parameter                           to   equate                 the steady-state supply                    of   labor across the


di    erent     speci       cations




3.3.3          Markups


The equilibrium conditions of the model imply that the cost share of gross value added                                                                                             is equal    to the inverse

                                       wtLt+RtP t__1Kt
                                                            K
of   the   markup
                            __1
                            t                  PY Yt
                                                                            In   the data          the       markup increases from 2.5                                        in   1984 to     21    in   2014
                                                t




                                                                                                            21
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3.3.4        Output Gap and Welfare


I    compute        the        steady-state             decline       in output          and welfare          in   response           to the              increase      in    markups                 inferred


from the data                  I    nd that the increase in markups                               inferred from the               data              causes        a steady-state                  decline     in



output       of   at    least        10 and a consumption                           equivalent          decline         in utility         of       at    least     2.9            The           declines     in



output       and     utility         are greater for higher values                         of      and    for      higher values                    of       The     model can match                        the


simultaneous              decline         in    the shares        of   labor    and capital but               it   is    unable       to       match         decline         in    the       real interest



rate or the         capital-to-output                    ratio        Furthermore               matching the shares                   of       both labor and capital requires                                 a


high value         of   the elasticity                 of substitution         between           labor   and capital


      In Section          2 I show that the decline                            in   the    capital share            is   due     to    a large decline                   in       the       risk-free       rate


rather      than a decline                 in    the ratio       of    capital to output                To match these features                              of   the    data           I   consider        the


possibility        that the           steady-state             interest        rate declines           over    time         In    this          exercise I           vary the               rate      of   time


preference         in order to match the observed                               change         in the    real interest           rate           I    assume that              at   the start of the

                                                                                                                                               __

sample       the    economy               is    in    a steady state with a                real interest           rate    of   8.5                        1:085__1           and at the end                  of



                                                                                                                                1
                                                                                                                                       __



the    sample the economy                        is    a steady state with a real interest rate                            of                             1:01__1       I    calculate            potential


output       in 2014 as the steady-state                              output        in   a model with                      1:01__1             and markups equal to                              2.5         all



other parameters are kept                             at their    1984 values In addition to calculating                                   the output               gap       I   ask       whether         this



model can match the observed                               declines      in the shares of labor                 and capital                I   nd that the increase in markups
causes      output        to       decline      by at     least      8.5 relative to potential output                            and the decline in output                                  is   greater     for



higher values             of        and        for    higher values       of         The model matches the decline                                   in   the shares          of    both labor and


capital as        well     as the decline                in    the     real interest       rate    and the capital-to-output                                ratio       Matching the shares


of    both labor and capital now requires                                 an    elasticity        of substitution               between                  labor    and capital equal to 0.6


     this   value    is    in line        with        the estimates        of   Antr      as    2004 Chirinko 2008 and Ober                                          eld and Raval                     2014

This evidence             suggests that the increase in markups                                   inferred from            the data                 can explain the entire decline                            in



the shares         of   both labor and capital and that the decline in the shares of labor and capital are an ine                                                                                          cient


outcome




3.4         Discussion


The     model is based on two important                                  assumptions              rst production                  is   homogeneous                      in    capital            and labor


and second           the static rst-order conditions                             of      rms are satis             ed i.e        labor          and capital inputs                      fully     adjust to


their long-run levels                     In     any model with these two features a change                                       in   preferences                  technology                   or   relative



prices that causes                  the labor share to decline                       must cause          an equal increase                      in       the capital         share The                 precise


decomposition                  of   the    decline        in     the    shares       of   labor    and capital into a                          joint       decline      due         to       an       increase




                                                                                                  22
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in    markups and                    o     setting           movements                     which can be due to preferences                                               technology                      or relative         prices     is



determined               in    the calibration                     I   impose              a    consensus value                    of    the elasticity              of   substitution                     between labor and


capital           and     I   nd that the entire decline                                    in      the shares          of    labor and capital are due to an increase                                                  in   markups


Furthermore                   model-based                   counterfactual                     calculations             suggest that the increase                               in     markups              inferred from the


data        is    large enough              to generate                 a large decline in output


       The         magnitude              of    the     decline              in   the          capital          share        is    of    central importance                       for           understanding                 why the

labor share               has declined                      To understand                           this point          it        is    worth considering                       two hypothetical                         worlds        In


the     rst hypothetical world which matches                                                         my ndings the labor share declines                                                6.7 percentage                    points the


capital declines 7.2                       percentage                  points          and the pro                   tshare             increases 13.5                   percentage                  points        In this world


the     calibrated                 model        tells       us    that the entire decline                               in        the        shares      of    labor           and capital are                     joint       and are


entirely           due to an              increase           in    markups                      In the         second         hypothetical                 world which matches                                  the       ndings       of



Karabarbounis and Neiman                                      2014                and Rognlie                   2015               the labor             share declines                    5     percentage              points the


capital           share remains constant                                and the pro                       tshare increases                      by 5 percentage                      points                In   this      world the


calibrated              model tells us that an increase                                          in   markups            can account                     for   only part               of       the       decline         Indeed an


increase           in   markups            would have caused the shares of both labor and capital to decline                                                                                         the labor share would


have declined                 by    less than           5 percentage                       points         A further change in preferences                                        technology or relative prices


is   needed in order to increase the capital share at the expense                                                                             of   the labor share


       Existing           research has already                              documented                    an     increase               in   the    share       of       pro         ts In addition                     to the      work


of    Karabarbounis and Neiman                                     2014 and                      Rognlie          2015 Hall 2017                               documents                   a growing            wedge between


the     return           to capital            and the             risk-free real interest                          rate suggestive                       of    an increase                     in       pro    ts An increase


in    the         share       of    pro        ts is    not        su        cient             to    determine the                      cause       of    the    decline             in         the       share     of    labor        In


both hypothetical                         worlds described                        above the share of pro                                      tsincreases                In    order to determine the                               cause


of    the        decline        in the labor                 share          we need to measure                               the        capital      share               The measurement                           of    the    capital


share        is    also needed              to determine the welfare                                  consequences                      of    the decline            in       the labor                  share Indeed               based


on their measurement                             of    the capital                 share Karabarbounis and Neiman                                                2014 nd increasing                                     welfare      and


output.18               By contrast              based           on my nding of a large decline                                          in    the capital               share         I    nd that output declines
substantially                 in   response            to the data-inferred increase in markups.19


     18See       Karabarbounis             and Neiman              2014 Table IV column 6 for their welfare results See also Section 2.6 of this paper for
a discussion            of their     measurement                 of the capital                share
     19At    rst glance             my calibration                results         look      very      similar to        Karabarbounis                and       Neiman           2014            KN          Table       IV column       4
This is not however                   the      case     I   compute           the steady-state                  decline       in output            and welfare           in response to the                 increase in markups

inferred          from    the      data    and     report          a lower         bound             on   the    output and                  consumption         loss         across        a    wide      range    of    parameters
I    consider       a    range      for   the     elasticity           of   substitution                  and     the    Frisch          elasticity       of   labor       supply               If   I    impose    the      production

parameters          of    KN               1:25    and                 1 then
                                             nd a decline in output of 17 and a welfare-equivalent decline in consumption
                                                                                       I


of 5.5 In the second  experiment in which  allow the rate of time preference to vary
                                                                                   I nd a decline in output of 20 These                                              I

output and welfare e ects are much larger KN's This    not surprising due to my measurement of the capital share
                                                                                                          is        nd a                                                                                                        I


much larger             increase in         markups          a 13.5pp increase vs KN's                             5pp increase                    More       importantly              my estimates               are    based on      my
ndings that              the capital        share declines                  as rapidly as the                  labor share             KN reject the view                 of   a decline             in capital     KN Table IV


                                                                                                                    23
economy




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                 My work points to a world in which                                    the shares          of    capital      and labor are         jointly             declining       This       nding

          is    new    to        the   literature      My nding leads me to conclude                                     that an   increase         in   markups             is   the   entire      story


          After accounting                  for   the increase         in      markups there              is   no room or need          for   change               in   preferences          technology


          or relative prices




          4           Labor Share and Industry Concentration

          In    this     section        I   provide        reduced        form        empirical         evidence         to   support the           hypothesis             that     an increase         in



          markups            plays      a signi       cant      role     in     the decline         of     the     labor      share     In    the    data           I   am unable            to   directly


          measure markups                     instead       I   proxy          for   markups        using         industry      concentration                  I    assume that          an increase


          in    concentration               captures       increases           in    markups            This assumption            is   true in standard                   models       of    imperfect


          competition              and is supported             by Salinger            1990        and Rotemberg and Woodford                            1991 Using cross-sectional

          variation          I    show that those industries that experience larger increases in concentration                                                            also experience           larger


          declines       in       the labor        share        Univariate           regressions          suggest that the            increase       in    industry           concentration            can


          account        for       the entire decline            in the labor              share




          4.1          Data


          I    use census          data     on industry payrolls sales and concentration                                      Payroll includes           all       wages and        salaries       in cash


          and     in   kind as well as               all   supplements                to   wages    and salaries              The data        provide              four measures         of       industry


          concentrations                namely        the share           of    sales by     the    4 8 20 and                  50-largest        rms The data are available                            in



          the    years           1997 2002          2007 and 2012 and cover                         all        sectors   of   the private         economy with the exceptions                           of



          agriculture              mining construction                    management           of       companies and public administration


                 In    order       to   construct          changes        in     the labor         share         and concentration            I   match industries across census


          years.20       I       construct        a sample       of all     industries that are consistently de                          ned over time and that have data on


          sales payroll                and at      least   one measure                of   concentration              In several sectors the census separately                                     reports


          data     for   tax-exempt               rms and it is not possible                       to   construct         an industry measure                      of   concentration             Instead


          I    consider          only   rms subject              to federal           income       tax          The   results are robust to dropping these                               sectors        In


          total       my sample consists of 750 six-digit NAICS industries                                               As a share      of   the sectors                covered     by the census


          my matched sample                       covers   76       of    sales receipts           in    1997 and         86     of sales receipts                 in 2012        As a share of the


          U.S private
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in    2012           Table       2 provides          descriptive statistics                    of   the labor share                     the payroll               share       of      sales         and the four


census        measures             of    industry      concentration                  for   my matched                 sample




4.2           Empirical                   Speci          cation


I   consider          two reduced              form empirical speci                      cations      that         relate           the increase in concentration                                  to   the decline


in    the labor            share The rst empirical speci                                    cation is   a regression                   in     rst di        erences




                                                              SL     __    SL                t               C
                                                                                                                 n      __      C
                                                                                                                                    n               j;t                                                               4.1
                                                               j;t          j;t__k                               j;t                j;t__k




where         SL
               j;t
                      __   SL
                            j;t__k
                                         is   the    change          in   the      labor      share     of       sales in            industry          j    from year             t     __   k    to year         t    and


C
    n __C n                 is   the change           in the concentration                       of sales in           industry          j       from year t__k to year                           t measured as
    j;t          j;t__k




the       change       in   the share          of    sales by        the       4 8 20 and               50-largest                  rms The second empirical speci                                            cation is


a regression               in log di          erences




                                                    log SL     __    log SL                  t               log       C
                                                                                                                           n    __ log        C
                                                                                                                                                  n               j;t                                                 4.2
                                                        j;t                     j;t__k                                  j;t                       j;t__k




I   choose       two di           erent       speci     cations for               k      In the rst speci                       cation I          use the     two end years                        of    data 1997


and 2012             k           15 The intercept                    in this       rst speci            cation is the predicted decline                                  in       the labor             share         after



controlling            for       changes       in    concentration                  In the second                speci          cation I use               data     from all                 four census years


k           5    I    use this speci                cation to address concerns                       that the results                        may be due to cyclical                           variation            In   all



speci         cations        I   weight        each observation                   by its share          of     sales in             year     t   and standard errors are clustered                                      by


3-digit       NAICS industry




4.3           Results


I   present          the    results of         the the        cross-sectional                regression           in two stages                     First     I    report the                    results     that use


only data            from the 1997 and 2012 censuses                                      In this    rst set               of   results the intercept                        of    the regression                 is    the


implied         change           in     the   labor share            after       controlling        for      changes             in    industry            concentration                     Second           I   report


results         that       include        data       from the four censuses                         1997         2002 2007 and 2012                               The        two         sets of         results are


quantitatively               similar In             both cases             I    nd that that an increase in concentration                                               is   associated                 in   the cross


section         with a decline                in    the labor share                         0 and the observed increase in concentration                                                         can account            for



most and              perhaps           all    of   the decline           in the labor            share

establishments             with    paid employees are included                    in the Statistics       of     U.S Businesses reports and tables                                All    NAICS industries               are

covered       except        crop      and animal production                rail    transportation         National Postal                    Service       pension health                welfare and vacation
funds        trusts estates             and agency      accounts               private    households         and public              administration            Most government                      establishments

are       excluded




                                                                                                     25
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      Table        3 presents             the     results of            regressions             of    the    change         in    the labor           share     on the change in industry


concentration                 as speci           ed in equation               4.1 Column 1 regresses                            changes         in   the labor share on          a constant        and


shows that the weighted                            average             decline         in the        labor share           is    0.82 percentage              points      Columns 2{5 show


the       results of         weighted           regressions             of   the    change           in    the labor share            on the change             in industry      concentration


measured as the share                           of sales     by the          4 8 20 and                     50-largest           rms The table shows that those industries
that       experience           larger          increases         in    concentration                 of    sales also          experience           larger declines      in    the labor        share


The        slope coe          cient        is    negative         and        statistically           signi       cant in each             of    the regressions         After controlling           for



changes           in   industry           concentration                 the    sales       weighted          average            decline        in the labor       share   is   statistically      zero


and economically                     small Table 4 presents                            the   results of          the log speci                 cation and       shows qualitatively          similar


results           Taken        together            the      results          suggest         that the increase                   in   concentration             can   account     for   the entire


decline          in the labor             share




4.4          Robustness


One possible                concern        is    that       changes          in    the    labor share are driven                      by business cycle uctuations                      which are


correlated             with    changes           in    concentration                    To address            this     concern        I   run a regression             speci     cation using       all



four census             years        k          5 The        slope coe                 cients        of this     speci      cationare presented                  in   Tables    5 and 6 and are


statistically           indistinguishable                    from the slope coe                        cients     in      the    main results By using more years                           of   data


my results are less likely                        to       be driven by                cyclical      variation


      Second            the census data                do not properly capture                            foreign competition                  and likely overestimate            concentration


in   product           markets for tradable goods To the extent that foreign competition has increased                                                                           over      time the


census data                 likely    overestimate                increases            in concentration                in   tradable            industries        To address         this   concern


I   repeat the              analysis       excluding             all    tradable          industries.22            I   nd that excluding tradable industries does not
alter      the results               Furthermore                 in the       sample            of   tradable industries there                        is   no cross sectional        relationship


between changes                  in measured                 concentration                   and changes             in   the     labor         share        These    results   are reported         in



columns           2 and 3 of Table                 7

      Third            in    several       sectors          the    census measures concentration                                   separately           for   tax-exempt        rms This in
troduces          measurement                   error       in   the concentration                     variable           Column 4              of   Table 7 repeats the analysis                 after



excluding          sectors           in   which        tax       exempt rms make up a large fraction                                           of    sales   health care       and   social      assis


tance and other services                               I   nd that excluding these sectors does not alter the results

      Last an increase                    in     the importance                   of   intangible           capital could             cause         a decline    in   the labor share        and an


increase          in   concentration               that      is        unrelated to             an increase in markups                           Column 5 of 7 repeats               the    analysis


    22I    use   the industry classi              cation     provided         by Mian and             Su 2014




                                                                                                            26
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after   excluding          R&D intensive                industries.23      I    nd that excluding                   these industries does not                alter      the results




4.5          Discussion


My results show that the decline                            in the labor share           is   strongly           associated    with    an increase          in   concentration


This    is   consistent         with        my hypothesis         that     an increase           in    markups        plays    a signi       cant role in the                decline     of



the labor         share      Unlike the aggregate                 results of       Section          2 the results of this section                 do    not      rely    on capital


data    and are not subject                   to concerns        with   the     measurement                of   capital     Using alternative          sources          of   data   and


variation          this   section          complements          my aggregate ndings

      The     results      of       this    section     are   consistent        with     several       price-setting         mechanisms           First          the    results are


consistent         with     a model in which                  rms face          barriers      to      entry where           prices    are the     result      of   monopolistic


competition               An    increase          in   barriers    to   entry     results        in    higher concentration                 driven     by    a   decline        in the


number        of    rms higher markups                        driven    by an increase                in    prices    and a decline           in the     labor         share        The


results      are also consistent                 with a model of a dominant                      rm and a competitive fringe where prices are equal
to the marginal cost                  of    the   rms in the competitive fringe In such a model an increase                                            in    the productivity


of   the dominant            rm           also   results in     higher concentration                  driven by       the    growth of the dominant                    rm higher
markups           driven     by a decline              in   production      costs      of     the     dominant        rm and a decline                 in    the     labor      share


Further research               is    needed to tell apart these models of competition




5       Conclusion


In    this   paper I show that the decline in the labor share over the                                             last    30 years was not o set                by an increase


in   the capital          share       I    calculate     payments to capital as the product                           of    the required      rate of return on                 capital


and the value             of the     capital      stock       Using aggregate          time        series data        I   document      a large decline            in   the capital


share    and a large increase                    in   the pro     tshare   in    the   U.S       non-           nancial corporate       sector    over the last 30 years


I   show that the decline                   in    the capital share        is   robust to          many calculations            of    the    required       rate of return             on


capital      and     is   unlikely          to be      driven   by unobserved               capital         I    interpret    these    results    through the lens                  of   a


standard general               equilibrium             model The model is based on two                            important     assumptions             rst production is

homogeneous               in capital         and labor second              the    static      rst-order conditions               of    rms are satis               ed        i.e labor


and capital inputs                  fully    adjust to their long          run levels            If   we accept the assumptions                   of   the    model then we

are    led   to    conclude          that the decline           in the shares       of    labor       and capital are caused                by   an increase            in    markups

    23Data    on   R&D by industry are taken from the NSF R&D survey I exclude Chemical Manufacturing NAICS 325 Com
puter and Electronic     Product Manufacturing   NAICS 334 Transportation Equipment Manufacturing NAICS 336 Software
Publishers        NAICS 5112 Computer Systems Design and Related Services NAICS 5415 and Scienti c R&D Services NAICS
5417




                                                                                            27
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and are an ine        cient   outcome      I   provide    reduced    form empirical evidence that an increase            in   markups has


played   a signi   cant role     in   the decline   in    the labor   share     The reduced form        results rely   on cross-sectional


variation    rather    than time series variation              and do not   rely     on capital data    Taken as a whole my results


suggest that the       decline   in the   shares    of   labor    and capital are due to an increase          in   markups    and   call   into


question    the conclusion       that   the decline      in   the labor share   is   an e   cient   outcome




                                                                       28
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     Figure      1 The    Required Rate           of   Return          on Capital


                                                                                   E
     The gure shows           the   required rate      of   return     on   capital for   the   U.S    non-   nancial corporate    sector   over the   period 1984{2014       The   required

     rate   of   return   on capital    is   calculated       as   R        i __                Capital   includes   both physical     capital   and   intangible   capital    The cost    of

     borrowing       is set   to Moody's     Aaa and expected               in   ation is calculated    as a three-year   moving    average    See Section   2 for further    details




              0.20




       d      0.15



32
       p
       E
        i
        R


              0.10




                               1985                         1990                      1995                    2000                  2005                   2010                     2015
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     Figure       2 The     Capital     Share       of   Gross Value       Added
     The     gure shows         the capital    share      of   gross   value   added      for    the   U.S     non-    nancial corporate sector               over    the   period 1984{2014               Capital

     payments

     payments
                     are the product

                     to gross   value
                                         of   the

                                        added The
                                                    required rate of return on

                                                           required rate       of
                                                                                           capital

                                                                                    return on
                                                                                                       and
                                                                                                     capital
                                                                                                             the value

                                                                                                               is
                                                                                                                            of

                                                                                                                    calculated
                                                                                                                                 the

                                                                                                                                   as
                                                                                                                                       capital

                                                                                                                                        R
                                                                                                                                                 stock

                                                                                                                                                 i __   E The capital share
                                                                                                                                                                       Capital
                                                                                                                                                                                      is



                                                                                                                                                                                   includes
                                                                                                                                                                                           the   ratio   of capital

                                                                                                                                                                                                  both physical

     capital      and   intangible   capital        The   cost   of    borrowing     is   set   to   Moody's        Aaa and       expected       in   ation   is   calculated    as    a three-year moving

     average        See Section   2 for further details




                    0.30




                    0.25




33
           RPKK




                  PYY0.20




                    0.15




                    0.10


                                  1985                         1990                       1995                       2000                        2005                       2010                         2015
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     Figure    3 The       Pro    t   Share      of   Gross Value            Added
     The    gure    shows      the pro      t share    of   gross        value   added    for   the   U.S non-        nancial corporate          sector   over   the   period 1984{2014         Pro        tsare

     de    nedas gross operating surplus less                    total   capital   payments              PY Y   __    wL __ RPKK __ taxes on production and imports less subsidies

                                                         E
     Capital    payments       are the     product     of the       required rate        of   return   on   capital   and    the   value    of   the   capital stock     The    required rate    of       return

     on    capital is    calculated   as   R      i __                      Capital includes          both physical     capital      and   intangible     capital      The   cost   of   borrowing   is   set   to

     Moody's     Aaa and       expected     in    ation     is   calculated      as a three-year moving          average       See    Section     2 for further     details




                 0.20




                 0.15




34



          P   PYY 0.10




                 0.05




                 0.00


                                 1985                            1990                     1995                        2000                       2005                    2010                    2015
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     Figure    4 Break Even            Value       of   Unobserved      Capital

     The gure     shows the value           of   the break-even     stock   of   omitted      or unobserved       capital   reported as a share        of observed    gross value     added    This

     break-even    stock     is   a lower    bound       on    the nominal   value      of   the   stock   of   omitted   or unobserved      capital    that   rationalizes    zero   pro     ts See

     Section   2.5.1   for   details




           8




           6




35
           4




           2



                                                                                                                                                 BEA Capital Physical          Intangible




           0                                                                                                                      Economic    Competencies        Intan   Invest




                        1985                            1990                     1995                       2000                   2005                        2010                     2015
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     Figure   5 Debt and Equity Costs of Capital
     This   gure    plots   the debt cost       of   capital     and   the   equity   cost    of   capital     The   debt   cost   of   capital   is   set   to the   yield   on Moody's Aaa bond
     portfolio    and the   equity cost    of    capital    is   set   to the sum of the           risk-free   rate yield on the         ten-year      treasury and the        equity   risk   premium
     dividend     price   ratio   of   the S&P   500 See Section              2.5.2   for   further details




            15




36

            10




              5




                          1985                       1990                     1995                      2000                       2005                      2010                  2015



                                                                             Moody's        Aaa                10_ Year Treasury                  DP
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     Figure    6 Alternative Bond Portfolios
     This   gure   plots   the   yield   on   three   bond    portfolios     Moody's   Aaa bond       portfolio Moody's      Baa   bond   portfolio and   the   Bank   of   America

     Merrill   Lynch   U.S   Corporate Master E              ective   bond   portfolio See   Section   2.5.2 for   further details




            12




37
               8




               4




                        1985                     1990                      1995                2000                   2005                 2010                 2015



                                                         BofA Effective           Yield           Moody's      Aaa                 Moody's   Baa
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     Figure   7                           Ratio of Investment to Gross Value              Added
     This gure                             plots   the ratio   of   nominal investment   to   nominal   gross   value   added   in   the   U.S   non-   nancial corporate   sector   Data   are   taken   from the

     the   NIPA                           See Section    2.6 for further details




                                            0.20




                                            0.19
              GVA


              to
              Non_ Financial Investment




                                            0.18




38




                                            0.17
                  Corporate




                                            0.16




                                            0.15



                                                          1985                  1990                1995                   2000                     2005                2010                 2015
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Table    1 Time Trend                 of    Factor and Pro             t   Shares
Capital    payments         are the product             of   the required   rate of return    on capital and the value             of   the capital         stock


                                                        E
The     capital share       is   the       ratio   of   capital   payments to gross value            added      The required rate              of    return      on

capital    is   calculated       as   R        i __                    Capital includes      both physical        capital    and intangible               capital

The cost of borrowing             is set     to the yield       on Moody's Aaa and expected             in     ation is calculated        as   a three-year
moving average Pro                tsare de          ned as gross operating surplus less total capital payments                               PY Y __wL__
RPKK __ taxes on production and imports less subsidies See Section 2 for further details



                                                             Time trend       se    Fitted   value in   1984     Fitted value      in 2014          Di    erence




 Labor Share                                                    0.22        0.03              65.28                      58.60                           6.69




 Capital    Share Physical                Intangible            0.24        0.05              24.17                      16.94                           7.22




 Pro      t Share                                               0.45        0.06              2.16                       15.70                           13.54




 Indirect       Tax Share                                       0.01        0.01              8.39                          8.76                         0.37




                                                                               39
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Table   2 Descriptive         Statistics

This table reports descriptive             statistics     of   my sample   of   census    industries   Data on industry payrolls sales
and concentration         are taken   from the economic census              The unit of observation       is   a six-digit NAICS industry

See Section   4.1   for    further details




                                                                                N        median   mean          sd



                             Value    in   1997


                               Labor share of            sales                  750       19.80   21.47        11.87


                               Sales share         of   largest   4 rms         748       25.95   30.57        20.87


                               Sales share         of   largest   8 rms         747       37.40   40.09        24.62


                               Sales share         of   largest 20   rms        750       43.95   46.30        24.85


                               Sales share         of   largest 50   rms        749       51.00   52.49        25.18




                             Value    in   2012


                               Labor share of            sales                  750       17.70   20.28        12.88


                               Sales share         of   largest   4 rms         748       32.50   35.85        21.78


                               Sales share         of   largest   8 rms         747       44.10   45.86        24.72


                               Sales share         of   largest 20   rms        750       51.65   52.25        24.77


                               Sales share         of   largest 50   rms        749       57.80   58.11        24.83




                             Change        in   value


                               Labor share of            sales                  750       1.41     1.19        5.90


                               Sales share         of   largest   4 rms         748       4.15     5.28        12.10


                               Sales share         of   largest   8 rms         747       4.70     5.77        11.80


                               Sales share         of   largest 20   rms        750       4.95     5.94        11.49


                               Sales share         of   largest 50   rms        749       4.70     5.62        10.95




                             Log change          in   value


                               Labor share of            sales                  750       0.08     0.10        0.28


                               Sales share         of   largest   4 rms         748       0.17     0.21        0.46


                               Sales share         of   largest   8 rms         747       0.13     0.18        0.38


                               Sales share         of   largest 20   rms        750       0.11     0.16        0.31


                               Sales share         of   largest 50   rms        749       0.09     0.13        0.26




                                                                       40
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Table   3 Labor Share on Industry Concentration                                   Regression       in First Di       erence
The    table reports results         of   regression   of   changes    in   the   labor   on changes     in industry    concentration       The
unit   of   observation   is   a six-digit NAICS industry Observations                    are weighted     by    an industry's   share   of sales


in   the 2012   census    Standard errors are clustered           by     three-digit      NAICS industry Data on industry            payrolls

sales and     concentration        are taken    from the economic           census    See Section    4.2   for   further details




                                                                            Dependent     variable




                                                                              SL
                                                                               j;2012 __
                                                                                         SL
                                                                                          j;1997




                                                1                2                    3                 4                 5

               C4
                j;2012
                       __ C
                            4
                           j;1997
                                                              __0.109

                                                               0.027



                 8             8
               Cj;2012 __ Cj;1997                                                 __0.099

                                                                                   0.027



                 20            20
               Cj;2012 __ Cj;1997                                                                  __0.095

                                                                                                     0.028



                 50            50
               Cj;2012 __ Cj;1997                                                                                     __0.101

                                                                                                                        0.028




               Constant                    __0.818             __0.010               0.051             0.177             0.218


                                             0.186             0.415               0.416             0.429              0.439




               Observations                    750               748                 747               750               749


               R2                              0.000            0.060                0.052             0.051             0.056


               Adjusted R2                     0.000            0.059                0.051             0.050             0.054




               Note                                                                          p<0.1 p<0.05 p<0.01




                                                                         41
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Table   4 Labor Share on Industry Concentration                             Regression       in Log Di         erence
The   table reports     results of     regression   of   log changes in the labor    on log changes       in   industry   concentration

The   unit   of   observation    is   a six-digit NAICS industry Observations              are weighted     by an industry's       share   of


sales in   the    2012 census         Standard errors are clustered        by three-digit    NAICS     industry      Data       on industry
payrolls sales and          concentration   are taken     from the economic      census     See Section       4.2 for further details




                                                                          Dependent     variable




                                                                         log SL
                                                                              j;2012 __ log
                                                                                            SL
                                                                                             j;1997




                                                    1             2                 3                  4                  5

        log   C4
               j;2012
                      __ logC
                               4
                              j;1997
                                                               __0.287

                                                                0.043




        log
                  8               8
              Cj;2012 __ logC j;1997                                            __0.280

                                                                                  0.047



                  20              20
        log   Cj;2012 __ logC j;1997                                                             __0.467

                                                                                                   0.073



                  50              50
        log   Cj;2012 __ logC j;1997                                                                                __0.627

                                                                                                                        0.100




        Constant                             __0.219           __0.120          __0.136          __0.091            __0.078

                                              0.018             0.021             0.022            0.023                0.024




        Observations                            750               748               747               750                 749


        R2                                     0.000             0.077             0.055              0.102             0.126


        Adjusted       R2                      0.000             0.076             0.053              0.101             0.125




        Note                                                                                p<0.1 p<0.05 p<0.01




                                                                    42
2




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    Table   5 Regression                  in First          Di    erence      All Census Years
    The table reports results of regression                        of   changes     in   the labor on      changes in industry concentration              The unit
    of   observation   is   a   six-digit          NAICS         industry     The regressions include              data     from all four census       years   1997
    2002 2007      2012 Observations                         are weighted     by an industry's            share    of   sales   in   each   census   year Standard
    errors are clustered            by     three-digit           NAICS industry Data on industry                        payrolls sales and concentration         are

    taken   from the economic census                         See Section      4.2   for   further details




                                                                                          Dependent       variable




                                                                                             SL
                                                                                              j;t
                                                                                                    __   SL
                                                                                                          j;1997




                                                                        1                  2                   3                      4

                                C
                                    4     __   C
                                                   4              __0.113
                                    j;t            j;t__5




                                                                   0.029




                                C
                                    8     __   C
                                                   8                                 __0.108
                                    j;t            j;t__5



                                                                                         0.028



                                    20              20
                                C   j;t
                                           __   C   j;t__5
                                                                                                           __0.121

                                                                                                            0.029



                                    50              50
                                C   j;t
                                           __   C   j;t__5
                                                                                                                                __0.129

                                                                                                                                 0.033




                                Year       FE                           Yes                Yes                Yes                     Yes


                                R2 Within                           0.07                  0.06                0.07                   0.06


                                Observations
2




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    Table    6 Regression             in    Log Di erence                   All Census     Years
    The     table reports     results of         regression         of   log changes in the labor        on log changes             in   industry     concentration

    The     unit   of   observation        is   a   six-digit       NAICS     industry    The     regressions             include    data     from    all   four census

    years    1997 2002         2007         2012          Observations        are   weighted     by   an industry's            share     of   sales   in    each   census

    year     Standard errors are clustered                         by three-digit   NAICS       industry           Data on industry            payrolls       sales   and
    concentration        are taken        from the economic census                  See Section       4.2    for   further details




                                                                                        Dependent           variable




                                                                                         log   SL
                                                                                                j;t
                                                                                                      __ log   SL
                                                                                                                j;t__5




                                                                            1             2                        3                     4

                            log   C
                                      4    __   log
                                                      4
                                                      C                  __0.215
                                  j;t                 j;t__5




                                                                         0.079




                            log   C
                                      8    __   log
                                                      8
                                                      C                                __0.243
                                  j;t                 j;t__5




                                                                                         0.110



                                      20                  20
                            log   C
                                  j;t
                                            __ log    C   j;t__5
                                                                                                             __0.333


                                                                                                               0.147



                                      50                  50
                            log   C
                                  j;t
                                            __ log    C   j;t__5
                                                                                                                                    __0.450


                                                                                                                                    0.180




                            Year FE                                        Yes            Yes                      Yes                Yes


                            R2 Within                                      0.07           0.06                     0.07               0.08


                            Observations
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Table   7 Labor Share on Industry Concentration                                     By Subsample
The    table reports results        of    regression   of    changes     in   the   labor    on changes     in industry    concentration        The
unit   of   observation   is   a six-digit NAICS industry Observations                       are weighted    by   an industry's    share    of sales


in   2012    Standard errors are clustered             by    three-digit      NAICS    industry     Data on industry payrolls sales and
concentration       are taken     from the economic            census         The   classi    cation of tradable industries        is   taken   from
       Su 2014 Column 4 excludes Health Care and Social Assistance NAICS 62 and Other Services
Mian and
NAICS 81 The classi cation on R&D industries based on the NSF R&D survey See Section 4.4
                                                                           is                                                                    for


further     details




                                                                                    Dependent      variable




                                                                                       SL
                                                                                        j;2012
                                                                                               __ SL
                                                                                                   j;1997




                                                 Excluding Tradables                   Tradable           Excluding Sectors       with           Excluding


                          Full Sample                       Industries                Industries            Tax-Exempt Firms                R&D Industries

                                  1                            2                             3                       4                                 5
  4             4
Cj;2012 __ C j;1997            __0.109                      __0.152                      0.011                    __0.132                        __0.118

                                0.027                        0.027                      0.026                      0.024                          0.029




Constant                        __0.010                      0.720                    __2.359                       0.346                          0.168


                                0.415                        0.375                      0.446                      0.429                          0.480




Observations                     748                           506                           242                     677                              675


R2                               0.060                        0.097                      0.003                      0.081                          0.069


Adjusted      R2                 0.059                        0.095                     __0.001                     0.080                          0.068




Note                                                                                                                        p<0.1 p<0.05 p<0.01




                                                                           45
